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                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW MEXICO


MARK MONDRAGON o/b/o
D.M. a minor child,

       Plaintiffs,

vs.                                                       Case No. 1:21-CV-00427 SMV/KRS

RIO RANCHO PUBLIC SCHOOLS,
BOARD OF EDUCATION and
GEORGE ARCHULETA in his
Individual and official capacity,

       Defendants.


            RIO RANCHO PUBLIC SCHOOLS AND BOARD OF EDUCATION’S
                     ANSWER TO PLAINTIFFS’ COMPLAINT
       COME NOW Defendants Rio Rancho Public Schools and Board of Education (“RRPS

Defendants”), by and through counsel, Jerry A. Walz, Walz and Associates, P.C., and hereby

answer Plaintiffs’ Complaint as follows:

                                   JURISDICTION AND VENUE

       1.      Upon information and belief RRPS Defendants admit paragraph 1.

       2.      Paragraph 2 sets forth a legal conclusion to which an answer is generally not

required. To the extent that an answer is required, RRPS Defendants are without sufficient

information or belief to admit or deny and therefore deny same.

       3.      RRPS Defendants are without sufficient information or belief to admit or deny the

allegations of paragraph 3 and therefore deny same.

                                           PARTIES

       4.      RRPS Defendants are without sufficient information or belief to admit or deny the

allegations of paragraph 4 and therefore deny same.
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        5.     RRPS Defendants are without sufficient information or belief to admit or deny the

allegations of paragraph 5 and therefore deny same.

        6.     RRPS Defendants admit paragraph 6.

        7.     RRPS Defendants are without sufficient information or belief to admit or deny the

allegations of paragraph 7 and therefore deny same.

                                    STATEMENT OF FACTS

        8.     RRPS Defendants deny the allegation that “Starting in 9th grade of high school and

throughout D.M.’s 10th grade he was repeatedly subjected to unlawful and pretextual searches for

drugs on his person by a security guard employed by V. Sue Cleveland High School, George

Archuleta.” RRPS Defendants admit that V. Sue Cleveland High School is located at 4800

Cleveland Heights Rd. NE, Rio Rancho, NM 87144. RRPS Defendants are without sufficient

information or belief to admit or deny the remaining allegations of paragraph 8 and therefore deny

same.

        9.     RRPS Defendants deny paragraph 9.

        10.    RRPS Defendants deny paragraph 10.

        11.    RRPS Defendants deny paragraph 11.

        12.    RRPS Defendants deny paragraph 12.

        13.    RRPS Defendants deny paragraph 13.

        14.    RRPS Defendants are without sufficient information or belief to admit or deny

paragraph 14 and therefore deny same.

        15.    RRPS Defendants deny paragraph 15.

        16.    RRPS Defendants are without sufficient information or belief to admit or deny

paragraph 16 and therefore deny same.



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       17.     RRPS Defendants deny paragraph 17.

       18.     RRPS Defendants deny paragraph 18.

       19.     RRPS Defendants are without sufficient information or belief to admit or deny

paragraph 19 and therefore deny same.

       20.     RRPS Defendants are without sufficient information or belief to admit or deny

paragraph 20 and therefore deny same.

       21.     Paragraph 21 of the complaint sets forth a legal conclusion to which an answer is

generally not required. To the extent that an answer is required, RRPS Defendants are without

sufficient information or belief to admit or deny and therefore deny same.

       22.     RRPS Defendants deny paragraph 22.

       23.     RRPS Defendants are without sufficient information or belief to admit or deny

paragraph 23 and therefore deny same.

                                              COUNT I:
                     Violation of 42 U.S.C. sec. 1983, Illegal Search and Seizure
                                   under the Fourth Amendment
                      Against Defendant Archuleta in his Individual Capacity
       24.     RRPS Defendants incorporate their previous answers as if set out fully herein.

       25.     Paragraph 25 of the complaint sets forth a legal conclusion to which an answer is

generally not required. To the extent that an answer is required, RRPS Defendants are without

sufficient information or belief to admit or deny and therefore deny same.

       26.     Paragraph 26 of the complaint sets forth a legal conclusion to which an answer is

generally not required. To the extent that an answer is required, RRPS Defendants are without

sufficient information or belief to admit or deny and therefore deny same.




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       27.     Paragraph 27 of the complaint sets forth a legal conclusion to which an answer is

generally not required. To the extent that an answer is required, RRPS Defendants are without

sufficient information or belief to admit or deny and therefore deny same.

       28.     Paragraph 28 of the complaint sets forth a legal conclusion to which an answer is

generally not required. To the extent that an answer is required, RRPS Defendants are without

sufficient information or belief to admit or deny and therefore deny same.

       29.     RRPS Defendants deny paragraph 29.

       30.     Paragraph 30 of the complaint sets forth a legal conclusion to which an answer is

generally not required. To the extent that an answer is required, RRPS Defendants are without

sufficient information or belief to admit or deny and therefore deny same.

       31.     Paragraph 31 of the complaint sets forth a legal conclusion to which an answer is

generally not required. To the extent that an answer is required, RRPS Defendants are without

sufficient information or belief to admit or deny and therefore deny same.

       32.     RRPS Defendants deny paragraph 32.

       33.     RRPS Defendants deny paragraph 33.

                                         COUNT II:
                   Violation of N.M. Tort Claims Act NMSA 1978 § 41-4-12
       Against George Archuleta and Rio Rancho Public Schools Board of Education

       34.     RRPS Defendants incorporate their previous answers as if set out fully herein.

       35.     RRPS Defendants are without sufficient information or belief to admit or deny the

allegations of paragraph 35 and therefore deny same.

       36.     RRPS Defendants are without sufficient information or belief to admit or deny the

allegations of paragraph 36 as paraphrased and therefore deny same.




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       37.     Paragraph 37 of the complaint sets forth a legal conclusion to which an answer is

generally not required. To the extent that an answer is required, RRPS Defendants are without

sufficient information or belief to admit or deny and therefore deny same.

       38.     Paragraph 38 of the complaint sets forth a legal conclusion to which an answer is

generally not required. To the extent that an answer is required, RRPS Defendants are without

sufficient information or belief to admit or deny and therefore deny same.

       39.     Paragraph 39 of the complaint sets forth a legal conclusion to which an answer is

generally not required. To the extent that an answer is required, RRPS Defendants are without

sufficient information or belief to admit or deny and therefore deny same.

       40.     RRPS Defendants deny paragraph 40.

                                           COUNT III:
                            Violation of N.M. Tort Claims Act § 41-4-12
                       Against Rio Rancho Public Schools Board of Education

       41.     RRPS Defendants incorporate their previous answers as if set out fully herein.

       42.     RRPS Defendants admit Mr. Archuleta was employed by the school district as a

security guard. RRPS Defendants are without sufficient information or belief to admit or deny the

remaining allegations of paragraph 42 as paraphrased and therefore deny same.

       43.     RRPS Defendants deny paragraph 43.

       44.     Paragraph 44 of the complaint sets forth a legal conclusion to which an answer is

generally not required. To the extent that an answer is required, RRPS Defendants are without

sufficient information or belief to admit or deny and therefore deny same.

       45.     RRPS Defendants deny paragraph 45.




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       46.      Paragraph 46 of the complaint sets forth a legal conclusion to which an answer is

generally not required. To the extent that an answer is required, RRPS Defendants are without

sufficient information or belief to admit or deny and therefore deny same.

       47.      RRPS Defendants deny paragraph 47.

                                            COUNT IV:
                             Violation of N.M. Tort Claims Act § 41-4-6
             Against George Archuleta and Rio Rancho Public Schools Board of Education

       48.      RRPS Defendants incorporate their previous answers as if set out fully herein.

       49.      RRPS Defendants admit paragraph 49.

       50.      Paragraph 50 of the complaint sets forth a legal conclusion to which an answer is

generally not required. To the extent that an answer is required, RRPS Defendants are without

sufficient information or belief to admit or deny and therefore deny same.

       51.      Paragraph 51 of the complaint sets forth a legal conclusion to which an answer is

generally not required. To the extent that an answer is required, RRPS Defendants are without

sufficient information or belief to admit or deny and therefore deny same.

       52.      RRPS Defendants deny paragraph 52.

       53.      RRPS Defendants deny paragraph 53.

       54.      RRPS Defendants deny paragraph 54.

       55.      RRPS Defendants deny there was a failure to supervise Defendant Archuleta or

take action against him. The remaining allegations of paragraph 55 set forth legal conclusions to

which an answer is generally not required. To the extent an answer is required, RRPS Defendants

are without sufficient information or belief to admit or deny and therefore deny same.

       56.      RRPS Defendants deny paragraph 56.




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                                              JURY DEMAND

          57.    RRPS Defendants admit that Plaintiffs demand a jury trial on all issues so triable.

                                         REQUEST FOR RELIEF

          1.     RRPS Defendants deny paragraph 1.

          2.     RRPS Defendants deny paragraph 2.

          3.     RRPS Defendants deny paragraph 3.

          4.     RRPS Defendants deny paragraph 4.

          5.     RRPS Defendants deny paragraph 5.

          Further, any paragraph or allegation not specifically addressed in Plaintiffs’ Complaint is

denied.

                                   AFFIRMATIVE DEFENSES

          COME NOW Defendants Rio Rancho Public Schools and Board of Education hereby

assert the following affirmative defenses:

                                FIRST AFFIRMATIVE DEFENSE

          Any damages sustained by Plaintiffs were directly caused by the actions or inactions of

third parties for whom RRPS Defendants are not responsible.

                              SECOND AFFIRMATIVE DEFENSE

          As to Plaintiffs’ negligence claims, Defendants Rio Rancho Public Schools and Board of

Education state that if they are or were negligent, which is specifically denied, the negligence of

all parties whether named or unnamed in this lawsuit should be compared and contrasted and

negligence apportioned accordingly.




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                              THIRD AFFIRMATIVE DEFENSE

       Plaintiffs have failed to set forth any claim that can be advanced against RRPS Defendants

pursuant to the Tort Claims Act.

                             FOURTH AFFIRMATIVE DEFENSE

       Plaintiffs’ claims are barred in whole or in part pursuant to the New Mexico Tort Claims

Act.

                              FIFTH AFFIRMATIVE DEFENSE

       Plaintiffs have failed to state a claim against RRPS Defendants for which relief may be

granted.

                              SIXTH AFFIRMATIVE DEFENSE

       Plaintiffs are precluded from the recovery of punitive damages and pre-judgment interest

on their state tort claims pursuant to the Tort Claims Act.

       WHEREFORE, the RRPS Defendants have answered Plaintiffs’ Complaint in full, have

asserted their affirmative defenses, and respectfully request dismissal of Plaintiffs’ claims against

the RRPS Defendants with prejudice, an award of attorney fees and costs, and such other relief as

the Court deems just and as allowed by law.



                                              Respectfully submitted:

                                              WALZ AND ASSOCIATES, P.C.

                                               /s/ Jerry A. Walz
                                              JERRY A. WALZ
                                              Attorney for RRPS Defendants
                                              133 Eubank Blvd. NE
                                              Albuquerque, NM 87123
                                              Phone: (505) 275-1800
                                              jerryawalz@walzandassociates.com



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                              CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on the 13th day of May, 2021, I filed the foregoing
electronically through the CM/ECF system, which caused all parties or counsel to be served by
electronic means, as more fully reflected in the Notice of Electronic Filing.

/s/ Jerry A. Walz
JERRY A. WALZ




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